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4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

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7    UNITED STATES OF AMERICA,             No.    2:15-cr-00190-GEB
8                   Plaintiff,
9         v.                               ORDER STATING COMMENCEMENT DATE
                                           FOR EXAMINATION AND REPORT UNDER
10   Larry Todt,                           SECTION 18 U.S.C. § 4241 AND
                                           GRANTING 15-DAY EXTENSION
11
                    Defendant.
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               On    April   6,   2018,   the    judge   received   the   attached
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     communication from the Metropolitan Detention Center (MDC), in
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     which MDC requests that the statutory commencement date for the
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     evaluation of Defendant Larry Todt be March 22, 2018, the date he
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     arrived at MDC, and that the clinical psychologist receive “a 15-
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     day extension as permitted by statute to complete the testing and
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     examination.”    The requests are granted.          The judge has obtained
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     the facsimile number for the clinical psychology department of
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     MDC and chambers will send by fax a copy of this order to that
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     number.
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               IT IS SO ORDERED.
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               Dated:    April 6, 2018
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